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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF FLORIDA
    ---------------------------------------------------------------X
    Lian Li, et al.,                                                     Case No.: 9:16-cv-81871-KAM

                                                 Plaintiffs,

                       -against-                                         [PROPOSED]
                                                                         DEFAULT JUDGMENT
    Walsh, et al.,

                                                  Defendants.
    -----------------------------------------------------------------X

    Walsh, et al.,

                                                Plaintiffs,

                     -against-

    PNC Bank, N.A., and Ruben Ramirez,

                                                 Defendants.
    -----------------------------------------------------------------X

            The matter before the Court is Plaintiffs EB-5 Investors’ (the “Plaintiffs”) Motion to

    Strike the Pleadings of and Entry of Default Judgment Against Defendant Joseph Walsh, Sr.

    (the “Defendant” or “Walsh”) [Dckt. No. ____]. Walsh has not responded to Plaintiffs’

    motion for entry of default judgment.

            Having considered Plaintiffs’ motion and the record, the Court enters the following

    findings of fact and conclusions of law:

            1.       This action was commenced by the filling of a Complaint on November 14, 2016.

    [Dckt. No. 1]. On March 10, 2017, Walsh filed a Motion to Dismiss the Complaint [Dckt. No.

    146]. Consistent with the directives of the Court’s July 24, 2017 Order, Plaintiffs filed an Amended

    Complaint on August 30, 2017. [Dckt. No. 181]. On October 13, 2017, Walsh filed the Answer

    to Plaintiffs’ First Amended Complaint. [Dckt. No. 225]. On October 15, 2018, Plaintiffs filed



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    their Second Amended Complaint. [Dckt. No. 338]. On October 23, 2018, Plaintiffs filed their

    Third Amended Complaint (the “Third Amended Complaint”). [Dckt. No. 351]. On November 19,

    2018, Walsh filed an Answer and Affirmative Defenses to Plaintiffs’ Third Amended Complaint

    (the “Answer”). [Dckt. No. 383].

            2.     On July 2, 2019, Plaintiffs noticed Walsh’s deposition to occur on August 8, 2019

    at the office of Plaintiffs’ counsel in Lake Worth, Palm Beach County, Florida.

            3.     Walsh did not appear for his properly noticed deposition scheduled for August 8,

    2019.

            4.     Prior to August 8, 2019, Walsh never sought a protective order for his deposition,

    requested an alternate date or location or any other accommodation with respect to his deposition

    scheduled for August 8, 2019.

            5.     On October 3, 2019, Plaintiffs filed a motion to, inter alia, compel Walsh’s

    deposition. [Dckt. No. 544]. The Court Order dated October 28, 2019 (the “October 28 Order”)

    compelled Walsh to “appear for his deposition…on November 10, 2019”, or risk having his

    pleadings stricken [Dckt. No. 559].

            6.     Notwithstanding the Court’s October 28 Order, Walsh did not appear for his

    deposition scheduled for November 10, 2019.

            7.     Plaintiffs have been and will continue to be prejudiced by Walsh’s failure to

    cooperate in discovery, specifically failing to appear for his depositions. As a result of Walsh’s

    failure to appear for his deposition on August 8, 2019 and November 10, 2019, Plaintiffs have

    incurred attorneys’ fees and costs.




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             8.    Upon information and belief, Walsh fled the United States and has moved between

    China and Australia for alternating 90-day periods of time, also making trips to Hong Kong and

    Vietnam.

             9.    On _________, the Court ordered, among other things, that Walsh’s Answer be

    stricken.

             10.   Upon entry of default, the well-pleaded allegations of a complaint are deemed

    admitted. Buchanan v. Bowman, 820 F.2d 359, 360 (11th Cir. 1987); Nishimatsu Construction Co.

    v. Houston Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975). When a defendant fails to defend an

    action and a default has been entered, his liability for violations of the federal securities laws as

    alleged in the complaint, and the propriety of the relief sought, is deemed established. Buchanan,

    820 F.2d at 360; Miller v. Paradise of Port Richey, Inc., 75 F. Supp. 2d 1342, 1346 (M.D. Fla.

    1999).

             11.   ACCORDINGLY, after due consideration, it is ORDERED AND ADJUDGED

    that Plaintiffs’ motion for entry of default judgment against Walsh is GRANTED as follows:

                                              COUNT I
                          Injunctive Relief Under Fla. Stat. §§ 812.035(1), (6)

             IT IS ORDERED AND ADJUDGED that Walsh is liable for the sum of $68,940,000 as

    and for treble damages pursuant to Fla. Stat. § 772.11(1); Fla. Stat. § 772.104(1), representing

    three times the amount of actual damages of the sum of $22,980,000, and

             IT IS ORDERED AND ADJUDGED that Walsh is permanently restrained and enjoined

    from disposing of real property obtained or improved through the use of unlawfully obtained

    proceeds.

             IT IS FURTHER ORDERED AND ADJUDGED that, as provided in Federal Rule of

    Civil Procedure 65(d)(2), the foregoing paragraph also bind the following who receive actual



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    notice of this Judgment by personal service or otherwise: (a) Walsh’s officers, agents, servants,

    employees, and attorneys; and (b) other persons in active concert or participation with Walsh or

    with anyone described in (a).

                                                  COUNT II
                                                  Conversion

           IT IS ORDERED AND ADJUDGED that Walsh is liable for the sum of $22,980,000 as

    and for damages, the sum of $68,940,000 as and for punitive damages, the sum of $

    as and for costs, and the sum of $9,239,891 as and for pre-judgment interest, for a total judgment

    amount of $                           , and

           IT IS ORDERED AND ADJUDGED that the total amounts above shall bear interest at

    the prevailing statutory interest rate, for which sums let execution issue forthwith.

                                             COUNT IV
                              Fraud in the Inducement - Chinese Victims

           IT IS ORDERED AND ADJUDGED that Walsh is liable for the sum of $19,600,000 as

    and for damages, the sum of $58,800,000 as and for punitive damages, the sum of $

    as and for costs, and the sum of $7,857,570 as and for pre-judgment interest, for a total judgment

    amount of $                           , and

           IT IS ORDERED AND ADJUDGED that the total amounts above shall bear interest at

    the prevailing statutory interest rate, for which sums let execution issue forthwith.

                                              COUNT V
                              Fraud in the Inducement - Iranian Victims

           IT IS ORDERED AND ADJUDGED that Walsh is liable for the sum of $2,800,000 as

    and for damages, the sum of $8,400,000 as and for punitive damages, the sum of $

    as and for costs, and the sum of $1,122,510 as and for pre-judgment interest, for a total judgment

    amount of $                           , and



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           IT IS ORDERED AND ADJUDGED that the total amounts above shall bear interest at

    the prevailing statutory interest rate, for which sums let execution issue forthwith.

                                              COUNT VI
                               Fraud in the Inducement - Turkish Victim

           IT IS ORDERED AND ADJUDGED that Walsh is liable for the sum of $580,000 as and

    for damages, the sum of $1,740,000 as and for punitive damages, the sum of $               as and

    for costs, and the sum of $259,811 as and for pre-judgment interest, for a total judgment amount

    of $                           , and

           IT IS ORDERED AND ADJUDGED that the total amounts above shall bear interest at

    the prevailing statutory interest rate, for which sums let execution issue forthwith.

                                                COUNT VII
                                           Fraud - Chinese Victims

           IT IS ORDERED AND ADJUDGED that Walsh is liable for the sum of $19,600,000 as

    and for damages, the sum of $58,800,000 as and for punitive damages, the sum of $

    as and for costs, and the sum of $7,857,570 as and for pre-judgment interest, for a total judgment

    amount of $                             , and

           IT IS ORDERED AND ADJUDGED that the total amounts above shall bear interest at

    the prevailing statutory interest rate, for which sums let execution issue forthwith.

                                               COUNT VIII
                                           Fraud - Iranian Victims

           IT IS ORDERED AND ADJUDGED that Walsh is liable for the sum of $2,800,000 as

    and for damages, the sum of $8,400,000 as and for punitive damages, the sum of $

    as and for costs, and the sum of $1,122,510 as and for pre-judgment interest, for a total judgment

    amount of $                             , and




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           IT IS ORDERED AND ADJUDGED that the total amounts above shall bear interest at

    the prevailing statutory interest rate, for which sums let execution issue forthwith.

                                              COUNT X
                                        Breach of Fiduciary Duty

           IT IS ORDERED AND ADJUDGED that Walsh is liable for the sum of $22,980,000 as

    and for damages, the sum of $68,940,000 as and for punitive damages, the sum of $

    as and for costs, and the sum of $9,239,891 as and for pre-judgment interest, for a total judgment

    amount of $                           , and

           IT IS ORDERED AND ADJUDGED that the total amounts above shall bear interest at

    the prevailing statutory interest rate, for which sums let execution issue forthwith.

                                           COUNT XIX
        Breach of Florida Securities and Investor Protection Act, Fla. Stat. § 517.011 et seq. -
                                          Chinese Victims

           IT IS ORDERED AND ADJUDGED that Walsh is liable for the sum of $19,600,000 as

    and for rescission, the sum of $                              as and for attorneys’ fees, and the

    sum of $                       as and for costs, for a total judgment amount of $

           , and

           IT IS ORDERED AND ADJUDGED that the total amounts above shall bear interest at

    the prevailing statutory interest rate, for which sums let execution issue forthwith.

                                            COUNT XX
        Breach of Florida Securities and Investor Protection Act, Fla. Stat. § 517.011 et seq. -
                                          Iranian Victims

           IT IS ORDERED AND ADJUDGED that Walsh is liable for the sum of $2,800,000 as

    and for rescission, the sum of $                       as and for attorneys’ fees, and the sum of

    $                       as and for costs, for a total judgment amount of $

           , and



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           IT IS ORDERED AND ADJUDGED that the total amounts above shall bear interest at

    the prevailing statutory interest rate, for which sums let execution issue forthwith.

                                            COUNT XXI
        Breach of Florida Securities and Investor Protection Act, Fla. Stat. § 517.011 et seq. -
                                           Turkish Victim

           IT IS ORDERED AND ADJUDGED that Walsh is liable for the sum of $580,000 as and

    for rescission, the sum of $                           as and for attorneys’ fees, and the sum of

    $                       as and for costs, for a total judgment amount of $

           , and

           IT IS ORDERED AND ADJUDGED that the total amounts above shall bear interest at

    the prevailing statutory interest rate, for which sums let execution issue forthwith.

                                             COUNT XXII
                                           Unjust Enrichment

           IT IS ORDERED AND ADJUDGED that Walsh is liable for the sum of $22,980,000 as

    and for the value of the benefits wrongfully obtained by Walsh; and

           IT IS ORDERED AND ADJUDGED that Plaintiffs’ prayer for the imposition of a

    constructive trust upon the proceeds of the wrongful and/or illegal activities is GRANTED; and

           IT IS ORDERED AND ADJUDGED that Walsh is hereby ORDERED to turn over the

    assets obtained using the funds unlawfully taken from Plaintiffs

           IT IS FURTHER ORDERED AND ADJUDGED that, as provided in Federal Rule of

    Civil Procedure 65(d)(2), the foregoing paragraph also bind the following who receive actual

    notice of this Judgment by personal service or otherwise: (a) Walsh’s officers, agents, servants,

    employees, and attorneys; and (b) other persons in active concert or participation with Walsh or

    with anyone described in (a).

                                              COUNT XXIII



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     Violation of Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. §501.201 et seq.

            IT IS ORDERED AND ADJUDGED that Walsh is liable for the sum of $22,980,000 as

    and for damages, the sum of $                           as and for attorneys’ fees, and the sum of $

                      as and for costs, for a total judgment amount of $                         , and

            IT IS ORDERED AND ADJUDGED that the total amounts above shall bear interest at

    the prevailing statutory interest rate, for which sums let execution issue forthwith.

                                             COUNT XXIV
                                           Equitable Accounting

            IT IS ORDERED AND ADJUDGED that Walsh is hereby ORDERED to provide a full

    and complete accounting of his finances, operations, and transactions involving any funds

    traceable to Plaintiffs, and

            IT IS ORDERED AND ADJUDGED that Walsh is hereby ORDERED to provide

    Plaintiffs with the location and description of all property purchased with any funds traceable to

    Plaintiffs, and

            IT IS ORDERED AND ADJUDGED that Plaintiffs’ prayer for the imposition of a

    constructive trust over all amounts and profits to which Plaintiffs are determined to be entitled to

    is GRANTED.

                                               COUNT XXV
                                              Civil Conspiracy

            IT IS ORDERED AND ADJUDGED that Walsh is liable for the sum of $22,980,000 as

    and for damages, and the sum of $                              as and for costs, for a total judgment

    amount of $                             , and

            IT IS ORDERED AND ADJUDGED that the total amounts above shall bear interest at

    the prevailing statutory interest rate, for which sums let execution issue forthwith.

                                               COUNT XXVI


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                                           Constructive Fraud

           IT IS ORDERED AND ADJUDGED that Walsh is liable for the sum of $22,980,000 as

    and for damages, and the sum of $                      as and for costs, and the sum of $9,239,891

    as and for pre-judgment interest, for a total judgment amount of $                         , and

           IT IS ORDERED AND ADJUDGED that the total amounts above shall bear interest at

    the prevailing statutory interest rate, for which sums let execution issue forthwith.

                                           COUNT XXIX
     Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder

           IT IS ORDERED AND ADJUDGED that Walsh is liable for the sum of $22,980,000 as

    and for damages, the sum of $                  as and for costs, and the sum of $

    as and for attorneys’ fees, for a total judgment amount of $                               , and

           IT IS ORDERED AND ADJUDGED that the total amounts above shall bear interest at

    the prevailing statutory interest rate, for which sums let execution issue forthwith.

           IT IS ORDERED AND ADJUDGED that Walsh is permanently restrained and enjoined

    from violating, directly or indirectly, Section 10(b) of the Securities Exchange Act of 1934

    (“Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. §

    240.10b-5], by the use of any means or instrumentality of interstate commerce, or of the mails or

    of any facility of any national securities exchange, in connection with the purchase or sale of any

    security:

           (a) to employ any device, scheme, or artifice to defraud;
           (b) to make any untrue statement of a material fact or to omit to state a material fact
               necessary in order to make the statements made, in light of the circumstances under
               which they were made, not misleading; or
           (c) to engage in any act, practice, or course of business which operates or would operate
               as a fraud or deceit upon any person,




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          by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any person,

   or (ii) disseminating false or misleading documents, materials, or information or making, either

   orally or in writing, any false or misleading statement in any communication with any investor or

   prospective investor, about:

          (a) any investment strategy or investment in securities,
          (b) the prospects for success of any product or company,
          (c) the use of investor funds,

          IT IS FURTHER ORDERED AND ADJUDGED that, as provided in Federal Rule of

   Civil Procedure 65(d)(2), the foregoing paragraph also bind the following who receive actual

   notice of this Judgment by personal service or otherwise: (a) Walsh’s officers, agents, servants,

   employees, and attorneys; and (b) other persons in active concert or participation with Walsh or

   with anyone described in (a).

                                            COUNT XXX
                           Violations of Section 20(a) of the Exchange Act

          IT IS ORDERED AND ADJUDGED that Walsh is liable for the sum of $22,980,000 as

   and for damages, the sum of $                         as and for costs, and the sum of $

   as and for attorneys’ fees, for a total judgment amount of $                                 , and

          IT IS ORDERED AND ADJUDGED that Walsh is permanently restrained and enjoined

   from violating, directly or indirectly, Section 20(a) of the Exchange Act, by the use of any means

   or instrumentality of interstate commerce, or of the mails or of any facility of any national

   securities exchange, in connection with the purchase or sale of any security:

          (a) to employ any device, scheme, or artifice to defraud;
          (b) to make any untrue statement of a material fact or to omit to state a material fact
              necessary in order to make the statements made, in light of the circumstances under
              which they were made, not misleading; or
          (c) to engage in any act, practice, or course of business which operates or would operate
              as a fraud or deceit upon any person,




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          by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any person,

   or (ii) disseminating false or misleading documents, materials, or information or making, either

   orally or in writing, any false or misleading statement in any communication with any investor or

   prospective investor, about:

          (d) any investment strategy or investment in securities,
          (e) the prospects for success of any product or company,
          (f) the use of investor funds,

          IT IS FURTHER ORDERED AND ADJUDGED that, as provided in Federal Rule of

   Civil Procedure 65(d)(2), the foregoing paragraph also bind the following who receive actual

   notice of this Judgment by personal service or otherwise: (a) Walsh’s officers, agents, servants,

   employees, and attorneys; and (b) other persons in active concert or participation with Walsh or

   with anyone described in (a).

                            BANKRUPTCY NONDISCHARGEABILITY

          IT IS FURTHER ORDERED AND ADJUDGED that, solely for purposes of exceptions

   to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the allegations in

   the Complaint are true and admitted by Walsh, and further, any debt for disgorgement,

   prejudgment interest, civil penalty, or other amounts due by Walsh under this Judgment or any

   other judgment, order, consent order, decree, or settlement agreement entered in connection with

   this proceeding, is a debt for the violation by Walsh of the federal securities laws or any regulation

   or order issued under such laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11

   U.S.C. § 523(a)(19).

                                   RETENTION OF JURISDICTION

          IT IS FURTHER ORDERED AND ADJUDGED that this Court shall retain jurisdiction

   of this matter for the purposes of enforcing the terms of this Judgment.




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                                   RULE 54(b) CERTIFICATION

           There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

   Procedure, the Clerk is ordered to enter this Default Judgment forthwith and without further notice.




            SIGNED in Chambers in West Palm Beach, Florida, this _____day of ______________,
   ____.


                                                 _______________________________________
                                                 HON. KENNETH A. MARRA
                                                 UNITED STATES DISTRICT JUDGE




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